                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

    KASPAROV, PTE LTD.,                                  Case No. 5:22-cv-00503

                  Plaintiff,

     v.                                                  MEMORANDUM IN SUPPORT OF
                                                             MOTION TO DISMISS
    JOSEPH ZACHERL,                                         AMENDED COMPLAINT
                  Defendant.


          NOW COMES Defendant Joseph Zacherl (“Zacherl”), pursuant to Fed. R. Civ. P. 9(b) and

12(b)(6), and hereby submits this Memorandum in Support of his Motion to Dismiss Plaintiff

Kasparov, PTE LTD.’s (“Kasparov”) Amended Complaint (the “Motion”).1

                               SUMMARY OF NATURE OF CASE

          Kasparov alleges that its co-founders, Talo and Amber, incorporated Kasparov in

Singapore for the purposes of administering a digital finance project referred to as the Rook

Project. As part of the Rook Project, Kasparov formed digital wallets (an online service used to

store digital assets) – two of which are relevant here (known as the Second Company Wallet and

the Team Tokens Wallet, and together, the “Wallets”). The Wallets were designed to store

digitized information concerning the ownership and capital structure of the Rook Project, and

tokenized digital assets and other cryptocurrencies. Kasparov alleges that the Wallets required

multiple signatures from appointed or authorized individuals as a prerequisite to any transaction

involving the digital assets in the Wallets. The initial signatories on the two Wallets at issue were

the two principals of Talo and Amber.



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 Unless otherwise defined herein, capitalized terms shall have the meanings provided in the
Amended Complaint.
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       At some point, Kasparov sought the expertise of Zacherl in connection with administering

the Rook Project, and agreed to pay him compensation in exchange for his services pursuant to a

Services Agreement entered in or around April 2020. In October 2021, Kasparov made Zacherl a

signatory on both the Second Company Wallet and the Team Tokens Wallet. A few months later,

Kasparov agreed to add non-party Jason Linehan as a signatory on both Wallets. Kasparov also

later agreed to add non-party Kyle Detz as a signatory on the Team Tokens Wallet.

       The crux of Kasparov’s claim against Zacherl is that somehow he (and Linehan and Detz)

allegedly “abused the trust that Kasparov had placed in them.”          Kasparov’s alleged harm

supposedly stems from its vague and conclusory claim that it was Zacherl who (1) added certain

signatories to the Wallets, (2) removed some (but not all) of Kasparov’s originally-appointed

signatories, and (3) increased the minimum number of signatory approvals required to effectuate

transactions with respect to the Second Company Wallet. However, the Amended Complaint is

devoid of any allegations that assets were transferred out of the Wallets, or in any way misused,

diverted, defalcated or diminished. Kasparov’s original complaint failed to state a claim because

Zacherl’s alleged changes to the signatories on the Wallets simply did not amount to conversion

as a matter of law. The Amended Complaint is no closer to stating a claim.

       Recognizing the deficiency of its original pleading, Kasparov attempts to salvage its claims

by tacking on additional causes of action based on the same factual allegations. The attempt fails.

In its Amended Complaint, Kasparov alleges it formed an agreement with Zacherl concerning the

use of the Wallets, which Zacherl allegedly breached, and that Zacherl fraudulently induced

Kasparov into making Detz a signatory to the Team Tokens Wallet. However, the Amended

Complaint is devoid of any allegations concerning the formation of the alleged agreement or its

essential terms, or the alleged misrepresentations and other elements of fraud, including scienter,


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with the particularity required under Rule 9(b).       For the following reasons, the Amended

Complaint should be dismissed in its entirety.

       First, Kasparov misunderstands the tort of conversion, which is intended to provide a civil

cause of action for theft (or the unlawful exercise of dominion over) goods and personal property.

Kasparov does not allege that Zacherl or anyone else diverted its assets from the Wallets or that

any assets in the Wallets were “stolen.” The only allegation is that Zacherl deprived Kasparov of

access to or control over the Wallets by virtue of the change in the authorized signatories.

Undeniably, Kasparov’s “access to” or “control” over the Wallets, however, is an intangible

interest and thus cannot provide the basis for a conversion claim under well-established North

Carolina law. Moreover, cryptocurrency and other digital assets have been classified by courts as

intangible property, and thus any allegation that Zacherl interfered with control or access to those

assets similarly cannot form the basis for a conversion claim. Indeed, courts have required

conversion of money claims to allege a transfer of a specific amount of money from the plaintiff’s

possession to the defendant’s possession, which Kasparov has not and cannot allege.

       Second, Kasparov’s breach of contract claim fails because it fails to allege the most basic

details concerning the formation of the alleged agreement or its terms. Indeed, there is no reference

to an actual contract in the Amended Complaint at all. Kasparov is left to plead a vague set of

allegedly contractual circumstances. But Kasparov fails to allege who (on behalf of Kasparov)

entered the agreement with Zacherl, whether the agreement was reduced to writing or formed by

means of communications between Kasparov and Zacherl, and if so, whether those

communications were in writing or oral, the dates of those communications, or what specifically

was said. There is no specific allegation of an offer or an acceptance (or consideration for that




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matter), and no allegations whatsoever to support a meeting of the minds as to the essential terms

of the alleged agreement.

       Third, Kasparov asserts that Zacherl was unjustly enriched by obtaining possession and

control over the Wallets and the assets contained therein. However, Kasparov fails to allege any

facts suggesting that the circumstances under which Zacherl was given signatory authorities gave

rise to a legal or equitable obligation to repay or compensate Kasparov, as is required to state a

claim for unjust enrichment. Indeed, there is no allegation Kasparov expected or demanded any

compensation in return. And apart from a conclusory allegation that the benefit conferred is

“measurable,” Kasparov fails to adequately allege a measurable benefit as required under North

Carolina law.

       Fourth, Kasparov’s fraud claims fail to adequately allege any of the elements of fraud and

fall far short of satisfying the heightened pleading standard under Fed. R. Civ. P. 9(b). The most

fundamental defect in Kasparov’s fraud claim is the failure to allege any misrepresentation. The

only specific communication Kasparov refers to in support of its fraud claim is a single electronic

message from Zacherl, but Kasparov does not identify what statement in that message constitutes

a misrepresentation. The misrepresentation Kasparov alleges – that Zacherl falsely represented

that he would act as Kasparov’s agent and not take actions without Kasparov’s prior approval – is

not contained anywhere in the quoted electronic message, nor does Kasparov specifically allege

when or how Zacherl made such a representation. Rule 9(b) requires that Kasparov allege the

time, place, and contents of any false representations, but Kasparov does none of those things. In

the absence of any specifically plead misrepresentation, Kasparov’s allegations as to the remaining

elements of fraud – that the alleged misrepresentations were reasonably calculated to deceive

Kasparov, made with the intent to deceive, reasonably relied upon, and directly caused damages –


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are entirely conclusory and unsupported by any specific factual allegations supporting an inference

of fraud. In particular, apart from conclusory allegations “on information and belief” that Zacherl

intended to deceive Kasparov, Kasparov does not allege any facts supporting an inference of

fraudulent intent as is required to state a claim for fraud under North Carolina law. Kasparov’s

constructive fraud claim likewise fails because it fails to allege any fiduciary duty. Finally, if the

breach of contract claim were sustained, the fraud claims must be dismissed as duplicative.

       Fifth, Kasparov’s claim under the North Carolina Unfair and Deceptive Trade Practices

Act (“UDTPA”) likewise fails because it omits critical elements. Because the primary purpose of

the UDTPA is to provide consumers a private cause of action, North Carolina courts have

interpreted the statute to reach business disputes in only two situations: (1) interactions between

distinct businesses, and (2) interactions between businesses and consumers. The statute does not

reach disputes within a business, and thus does not apply here, where Kasparov alleges it paid

Zacherl for his services on behalf of its business, the Rook Project, and asserts claims related to

those services. Kasparov’s one-sentence attempt to allege an effect on commerce is vastly

insufficient. Indeed, there is no allegation that Zacherl’s conduct had any impact on any person or

entity other than Kasparov (in Singapore), and thus there is likewise no allegation of any impact

on North Carolina commerce, as required under the UDTPA.                Finally, Kasparov does not

adequately allege unfair or deceptive trade practices.

       Sixth, Kasparov’s remaining causes of action for civil conspiracy and declaratory relief

fail for the simple reason that the other substantive causes of action fail.

       For these reasons, and those set forth in further detail below, Zacherl’s Motion to Dismiss

should be granted and the Complaint should be dismissed in its entirety.




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                                   STATEMENT OF FACTS

A.     KASPAROV ESTABLISHES THE ROOK PROJECT AND WALLETS.

       Kasparov alleges that Talo and Tiantian Kullander (along with his company, Amber)

founded the Rook Project in late 2019, and subsequently incorporated Kasparov in Singapore on

July 6, 2020, for purposes of administering the Project. Amend. Compl. ¶¶ 5, 29, 32. Kasparov

alleges it has at all relevant times been owned by Talo and Kullander on a 50/50 basis. Id. ¶ 21.

As detailed in the Complaint, Kasparov established and funded several cryptocurrency wallets to

support the Project and its goals. Id. ¶ 33. Kasparov’s claims against Zacherl principally relate to

two wallets: the Team Tokens Wallet (containing 452,137.53 ROOK Tokens and 1,186.94 tokens

of Uniswap v2 LP (another type of cryptocurrency), and the Second Company Wallet (containing

714,144.85 in USDC, a cryptocurrency pegged to the U.S. dollar). Id. ¶34.2

       Both Wallets are “multi-signature wallets that required several individual approvals

(sometimes referred to as ‘signatures’) from appointed/authorized individuals before any

transaction to or from the Wallets could be consummated.” Id. ¶ 11. Initially, Kasparov designated

the two principals of Talo and Amber (its owners) as the two signatories on both Wallets. Id.

       Kasparov alleged that it also set up a Distributed Autonomous Organization (“DAO”) – an

entity structure in which token-holders have the opportunity to participate in the management and

decision-making of an entity – to run the Project, with “[a]ll decisions by the DAO . . . voted on




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  In its Amended Complaint, Kasparov makes the scurrilous allegation that Zacherl “looted” the
DAO Treasury Wallet. It should be noted, however, that the DAO Treasury Wallet is not one of
the two Wallets Kasparov alleges Zacherl improperly exercised control over. And, Kasparov does
not base any of its causes of action on this allegation. Kasparov acknowledges that, on or around
August 1, 2021, it “voluntarily released control over the Project (and with it, the DAO Treasury
Wallet) to public ROOK token holders” and that from that point forward, Kasparov no longer
owned or controlled the assets in the DAO Treasury Wallet. Id. ¶¶ 33(d)-35.
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by ROOK token holders,” and tokens distributed to “stakers” in proportion to the amount of assets

they “stake” in the Project. Id. ¶¶ 6(a), 6(e).

B.      KASPAROV COLLABORATES WITH ZACHERL ON THE WALLETS.

        Kasparov alleges that after founding the Project in late 2019, it “decided to collaborate with

Defendants Zacherl, Linehan and Detz, who would work on various aspects of the Rook Project,

including software development and marketing,” and “lead certain trading elements in the Project,

including the creation and operation of the Keepers that would consummate cryptocurrency

arbitrage trades.” Id. ¶¶ 7, 36. Pursuant to a Services Agreement entered into by Kasparov and

Zacherl in or around April 2020, Kasparov agreed that Zacherl would receive 4% of the initial

supply of tokens issued by the Project. Id. ¶ 8. Kasparov later agreed to pay Zacherl a salary of

$10,000 per month as additional compensation for his services. Id. ¶ 37. The complaint alleges

that pursuant to the Services Agreement, the Founders would retain ownership of the remaining

ROOK tokens, which amounted to 960,000 ROOK tokens. Id. ¶ 8. Significantly, Kasparov does

not allege the Founders’ share of the initial tokens ever changed or that they no longer are entitled

to that share.

        Kasparov alleges that it agreed in June 2021, purportedly at Zacherl’s recommendation, to

engage Linehan to work on the Project, initially as an unpaid ambassador for the Project, and then

later as an employee of the KeeperDAO with a $3,750 per month salary payable in USD Coin

from the DAO Treasury Wallet. Id. ¶ 38. Likewise, Kasparov alleges that in July 2021, also

purportedly at Zacherl’s recommendation, it hired Detz to work on the Project as its External

Affairs Lead, with a salary paid from the DAO Treasury Wallet. Id. ¶ 39.

        Kasparov subsequently took several additional actions with respect to Zacherl, Linehan

and Detz’s roles in connection with the Project. First, on October 13, 2021, and February 23,


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2022, respectively, Kasparov added Zacherl and Linehan as signatories to the Second Company

Wallet. Id. ¶¶ 42-43. As of around February 24, 2022, Kasparov alleges “there were six signatories

to the Second Company Wallet: (1) Tiantian Kullander, (2) Taiyang Zhang, (3) Bainy Zhang, (4)

Susruth Nadimpalli, (5) Zacherl, and (6) Linehan.” Id. ¶ 44. Second, on October 13, 2021, and

January 6, 2022, respectively, Kasparov added Zacherl and Linehan as signatories to the Team

Tokens Wallet. As of January 2, 2022, Kasparov alleges “there were seven signatories to the Team

Tokens Wallet: (1) Taiyang Zhang, (2) Tiantian Kullander, (3) Bainy Zhang, (4) Benjamin Wang,

(5) Susruth Nadimpalli, (6) Zacherl, and (7) Linehan.” Id. ¶¶ 49-50. Third, Kasparov alleges that

it “authorized Zacherl and Linehan to manage 177,777.53 of the over 450,000 ROOK tokens in

the Team Tokens Wallet at their own discretion, provided that such discretion was exercised in

good faith, in the interests of the Project, and subject to Kasparov’s control.” Kasparov alleges

the remaining ROOK tokens in the Team Tokens Wallet belonged to Kasparov. Id. ¶ 51. Fourth,

Kasparov alleges that it added Detz as a signatory on the Team Tokens Wallet at the request of

Zacherl on or around April 20, 2022. Id. ¶ 52.

       In its Amended Complaint, Kasparov alleges that its communications with Zacherl

concerning the use of the Wallets somehow resulted in the formation of a binding agreement.

Specifically, Kasparov alleges that “[a]round October 2021, Kasparov offered Zacherl and

Linehan the opportunity to be added as signatories to the Team Tokens Wallet as Kasparov’s

agents, i.e., on the condition that Zacherl and Linehan utilize such signatory authority subject to

Kasparov’s control and prior authorization, and for the benefit of the Rook Project.” Further,

Kasparov alleges that “[i]n exchange for good and valuable consideration, Zacherl and Linehan

accepted.” Id. ¶ 81. Likewise, Kasparov alleges that “Zacherl and Linehan agreed that Kasparov

would afford Zacherl and Linehan signatory authority over the Second Company Wallet as


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Kasparov’s agent.” Id. ¶ 83. However, the Amended Complaint is wholly devoid of any specific

communication whereby Zacherl agreed to serve as Kasparov’s agent or to not exercise his

signatory authority without Kasparov’s prior approval, let alone any document reflecting such an

agreement.

       The Amended Complaint also introduces an allegation that Kasparov was fraudulently

induced to make Detz a signatory to the Wallets by virtue of an electronic message exchange on

or around April 20, 2022. Id. ¶ 102–108. As discussed in further detail below, there is no

allegation that any aspect of Zacherl’s April 20, 2022 message to Kasparov was untrue, much less

fraudulent. Nor is there any allegation of a specific representation or promise by Zacherl that if

Detz was added as a signatory, he would only act on behalf of Kasparov or as its agent.

C.     KASPAROV ALLEGES ZACHERL MADE CHANGES TO THE WALLETS.

       Kasparov’s claims against Zacherl arise from allegations that Zacherl took certain actions

that increased his (and Linehan and Detz’s) – and diluted Kasparov’s – degree of control over the

Wallets. However, there are no allegations in the Complaint that Zacherl, or anyone else, ever

diverted assets from the Wallets, nor that there was any change whatsoever to the assets contained

in the Wallets as a result of any action taken by Zacherl. Simply put, there is no allegation that

any of Kasparov’s assets were stolen or diminished. Kasparov alleges two categories of actions

that it contends were unlawful.

       1.      The Addition and Removal of Wallet Signatories.

       Kasparov alleges that Zacherl, Linehan and Detz removed signatories aligned with

Kasparov, and added signatories who were their “agents.” Specifically, Kasparov alleges that on

or around June 7, 2022, “using their authority as signatories, Zacherl, Linehan and Detz conspired

to create and execute a plan through which (1) Benjamin Wang, (2) Susruth Nadimpalli, and (3)


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Bainy Zhang, each of whom were representatives and/or associates of Kasparov, were removed as

signatories on the Team Tokens Wallet,” and to at the same time “have van Rheeden, who acted

as their agent and who is not affiliated with Kasparov, added as a signatory to the Team Tokens

Wallet.” Id. ¶¶ 53-54. As a result of these changes – and the death of a Kasparov-aligned

signatory, Tiantian Kullander – Kasparov alleges that only one of the original Kasparov signatories

(Taiyang Zhang) remains a signatory. Id. ¶ 56. “[B]ecause three signatories are needed to conduct

any transactions using the Team Tokens Wallet,” and only one Kasparov signatory remains after

Kullander’s passing, Kasparov alleges that Zacherl, Linehan, Detz “and their agent, van Rheeden

. . . have a sufficient numerical bloc to control the Wallet, to the exclusion of Kasparov.” Id.

       Kasparov asserts similar allegations with respect to the Second Company Wallet.

Kasparov alleges that on or around July 5, 2022, “Zacherl and Linehan . . . removed (1) Bainy

Zhang and (2) Susruth Nadimpalli as signatories on the Second Company Wallet, leaving only

Tiantian Kullander and Taiyang Zhang as the only remaining Kasparov-affiliated signatories on

the Second Company Wallet,” and on the same day, “added Detz and van Rheeden as additional

signatories to the Second Company Wallet.” Id. ¶ 61. Kasparov alleges “[t]his gave Zacherl,

Linehan, and their agents four confirmatory signatures, while only two Kasparov-affiliated

signatories remained.” Id. Kasparov alleges that it did not approve these changes to the Wallet

signatories, and that as a result of these changes, “Kasparov no longer has access to its funds” in

the Wallets. Id. ¶¶ 60, 65-66.

       2.      Change to the Signatory Confirmation Security Protocol for the Second
               Company Wallet.

       Kasparov alleges that on or around July 5, 2022, “Zacherl and Linehan, knowing that only

two of the original Kasparov-affiliated signatories remained, changed the signatory confirmation

security protocol applicable to the Second Company Wallet to now require a minimum of three

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confirmatory approvals from registered signatories. In so doing, Zacherl and Linehan sought to

prohibit the two remaining Kasparov-affiliated signatories from gaining access to or controlling

the Second Company Wallet.”        As a result, Kasparov alleges that “Zacherl, Linehan and their

agents, with a total of four signatories, ensured that they would be able to maintain control of

Kasparov’s Second Company Wallet, wrongly excluding Kasparov.” Id. ¶ 62. Kasparov alleges

it did not approve these changes to the Second Company Wallet (id. ¶ 65).

                                      LEGAL STANDARD

       To survive a Rule 12(b)(6) motion, “[f]actual allegations must be enough to raise a right to

relief above the speculative level and have enough facts to state a claim to relief that is plausible

on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 129 S. Ct.

1937, 1949 (2009) (citing Twombly, 550 U.S. at 556). A court need not accept conclusory

allegations regarding the legal effect of the facts alleged or “accept as true unwarranted inferences,

unreasonable conclusions, or arguments.” Giarratano v. Johnson, 521 F.3d 298, 302 (4th Cir.

2008) (citation omitted).

       “[F]raud-based claims must satisfy Rule 9(b)’s heightened pleading standard. . . Rule 9(b)

requires that ‘a party must state with particularity the circumstances constituting fraud or

mistake.’” United States ex rel. Grant v. United Airlines Inc., 912 F.3d 190, 196 (4th Cir. 2018)

(quoting Fed. R. Civ. P. 9(b)). The heightened pleading standard for fraud-based claims is

“stringent” for the purposes of “providing defendants notice of their alleged misconduct,

preventing frivolous suits, and eliminating fraud actions in which all the facts are learned after

discovery.” Id. at 197.


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                                           ARGUMENT

       Each of the causes of action in the Amended Complaint are based on the same alleged

misconduct—namely, the changes to the Wallet signatories described in Section C, supra.

Kasparov’s allegations fail to state a claim.

A.     KASPAROV’S CONVERSION CLAIM FAILS.

       “To state a claim [for] conversion under North Carolina law,3 [a] plaintiff must allege the

‘unauthorized assumption and exercise of the right of ownership over goods or personal chattels

belonging to another, to the alteration of their condition or the exclusion of an owner’s rights.’”

Kehrer v. Fields, No. 5:11-CV-260-FL, 2011 WL 6965714, at *11 (E.D.N.C. Nov. 21, 2011)

(quoting Spinks v. Taylor, 303 N.C. 256, 264, 278 S.E.2d 501, 506 (1981)) (emphasis added).

“Conversion is limited to claims involving goods and personal property and does not include

interests such as business opportunities and expectancy interests.” Id. (internal quotations

omitted). North Carolina courts have defined “intangible assets” broadly: “An ‘intangible asset’

is an asset that is not a physical object[.]” Flexible Foam Prods., Inc. v. Vitafoam Inc., 980 F.

Supp. 2d 690, 700 (W.D.N.C. 2013) (internal quotations omitted).




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  “Under the lex loci test, tort claims are governed by the law of the place of injury, which is
sustained in the jurisdiction where the last act giving rise to the injury occurred.” Cardiorentis
AG v. IQVIA Ltd., 373 N.C. 581, 321, 837 S.E.2d 873, 880 (2020). Likewise, “[u]nder North
Carolina’s choice-of-law rules for claims sounding in contract, North Carolina adopts the rule of
lex loci contractus, which focuses on the state where the contract was formed.” Smith Bros.
Trucking of Mt. Airy v. Baker Truck Brokerage, Inc., No. 1:07-CV-623, 2008 WL 4681641, at *3
(M.D.N.C. Oct. 21, 2008). Kasparov does not specifically allege that any of the acts giving rise
to its claims occurred in North Carolina, apart from the general allegation that Zacherl resides in
North Carolina. However, Zacherl accepts for purposes of this motion that North Carolina law
applies to Kasparov’s claims. In the event Kasparov contests the application of North Carolina
law to one or more of its causes of action, Zacherl reserves the right to seek a stay or dismissal
based on forum non conveniens. See id. at 320 (“State and federal courts alike agree that the need
to apply foreign law favors a stay in a forum non conveniens analysis”).
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       Accordingly, courts have routinely dismissed conversion claims based only on intangible

interests or rights, and not “goods and personal property.” For example, in Surratt v. Brown, the

court found plaintiff’s conversion claim based on “his right to partnership property, his

membership interest in the LLC/Partnership, and his right to participate in management of the

LLC/Partnership” was based on “intangible” interests and thus could not form the basis for a

conversion claim. No. 15 CVS 1551, 2015 WL 4523291, at *7 (N.C. Super. July 27, 2015). See

also, e.g., Kamel v. 5Church, Inc. No. 3:17-cv-507-RJC-DCK, 2019 WL 4024252, at *17

(W.D.N.C. Aug. 23, 2019) (finding claim for conversion of “administrative rights to the email

domains” was based on “intangible interests that may not be the subject of a conversion claim”).

       Kasparov’s conversion claim fails because it is not based on an allegation that any of the

digital assets (i.e. the ROOK tokens and other cryptocurrencies) contained in the Wallets were

taken, diverted, diminished or misused. Instead, it is based exclusively on alleged changes to the

Wallet signatories described in Section C, supra, which Kasparov alleges “deprived Kasparov

from control over its Wallets and the digital assets contained therein.” See Amend. Compl. ¶¶ 73-

79. Kasparov’s allegations of interference with its rights with respect to, or degree of control over,

the Wallets involve the kinds of intangible interests that North Carolina courts have recognized

cannot support a conversion claim.

       Even if Kasparov were to allege some facts suggesting interference with the digital assets

in the Wallets – as opposed to merely interference with Kasparov’s control over the Wallets and

assets contained therein – its claim would still fail. The assets contained in the Wallets are ROOK

Tokens and cryptocurrency, and courts have recognized digital assets as intangible property. See

Ox Labs Inc. v. BitPay, Inc., 848 F. App’x 795, 796 (9th Cir. 2021) (“The California Supreme

Court has yet to decide whether Bitcoins can be specifically recovered in a conversion action.


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Based on our review of California authorities, however, we conclude that they cannot. Specific

recovery is unavailable when the converted property is intangible.”); Jeong v. Nexo Fin. LLC, No.

21-CV-02392-BLF, 2022 WL 174236, at *24 (N.D. Cal. Jan. 19, 2022) (referring to

“cryptocurrencies” as “intangible goods”); Currier v. PDL Recovery Grp., LLC, No. 14-12179,

2018 WL 4057394, at *2 (E.D. Mich. Aug. 27, 2018) (finding defendant’s “cryptocurrency

accounts with Coinbase” to be “intangible personal property”); Alexander v. BF Labs Inc., No. 14-

2159-KHV, 2014 WL 5406890, at *1 (D. Kan. Oct. 22, 2014) (“A Bitcoin is a unit

of intangible currency that exists only on the internet”).

       Assuming arguendo the digital assets are tangible property, courts have required

conversion of money claims to include “allegations or evidence of a transfer of a specific amount

of money from a plaintiff to a defendant, with the defendant taking possession of that specific,

identifiable amount.” Taylor v. Bettis, 976 F. Supp. 2d 721, 744 (E.D.N.C. 2013), aff’d, 693 F.

App’x 190 (4th Cir. 2017). See also Wake Cnty. v. Hotels.com, L.P., 235 N.C. App. 633, 653, 762

S.E.2d 477, 490 (2014) (affirming dismissal of conversion claim over “a category of monies

allegedly owed” where the county failed to establish “the funds’ specific source, specific amount,

and specific destination”). Moreover, where a “Plaintiff seeks to maintain a conversion claim for

money” it must identify “any specific payment it made to Defendant by amount or date, or

otherwise sufficiently identif[y] the money alleged to have been converted.” Progress Point One-

B Condo. Ass'n, Inc. v. Progress Point One Prop. Owners Ass’n, Inc., No. 14 CVS 467, 2015 WL

859833, at *3 (N.C. Super. Mar. 2, 2015). Once again, there are no allegations that Kasparov




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transferred any digital assets to Zacherl, or that Zacherl transferred Kasparov’s digital assets to

himself or anyone else for their own use.4

B.     KASPAROV’S BREACH OF CONTRACT AND BREACH OF IMPLIED
       COVENANT CLAIMS FAIL.

       Kasparov fails to allege either the existence or breach of a contract. After omitting any

allegation whatsoever of an agreement between Kasparov and Zacherl concerning the “use of the”

Wallets in its original Complaint, Kasparov now claims that it formed such an agreement based on

threadbare allegations which are insufficient to state a claim under North Carlina law. “In North

Carolina . . . [t]o make a claim for breach of contract, a party must show the existence of an

agreement, an obligation contained in that agreement that has not been fulfilled by the opposing

party, and resulting injury to the non-breaching party.” Pres. Pro. Servs., LLC v. M2 Pictures,

LLC, No. 3:14-CV-589-RJC-DCK, 2015 WL 3657463, at *3 (W.D.N.C. June 12, 2015). “It is

well-settled principle of contract law that a valid contract exists only where there has been a

meeting of the minds as to all essential terms of the agreement.” Id.

       Where a plaintiff asserts a breach of contract claim without pleading any specific facts to

support the formation of a valid contract, courts have found that the plaintiff fails to state a cause

of action. “The Court is not required to accept Plaintiff’s conclusory claim that the parties formed

an ‘oral contract’ in the absence of some factual allegations to support such a conclusion.”

Regency Centers Acquisition, LLC v. Crescent Acquisitions, LLC, No. 17 CVS 11354, 2018 WL

562749, at *7 (N.C. Super. Jan. 24, 2018) (“Plaintiff does not plead any specific facts in support

of Defendant’s alleged oral acceptance of the purchase price, such as the date of the acceptance”).


4
  As noted above, Kasparov’s allegations that Zacherl “looted” the DAO Treasury Wallet relate to
assets that are not owned or controlled by Kasparov, but rather by the DAO, and thus cannot form
the basis for a conversion claim. In any event, Kasparov concedes that point in omitting any
reference to those allegations in its cause of action for conversion.
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The breach of contract allegations in Pres. Pro. Servs., LLC are similar to those asserted here.

There, the court noted that “Plaintiffs assert that the entirety of the contract can be found in the

vague statement alleged by the Amended Complaint, that ‘HGTV and M2 promised PresPro that,

in exchange for work on FIF, PresPro would be featured in FIF episodes as the general contractor

on some of the homes and that Defendants would promote PresPro on FIF.’” Pro. Servs., LLC,

2015 WL 3657463 at *3 (quoting the complaint). Dismissing the breach of contract claim, the

court found that “even viewing Plaintiffs’ Amended Complaint in the light most favorable to the

Plaintiffs . . . the Complaint does not include plausible allegations that Defendants breached the

terms of a valid and enforceable contract” and Plaintiffs “do not . . . point to specific factual

allegations in the Amended Complaint to demonstrate that such a contract was created between

the parties.” Id. See also Levy v. Infilaw Corp., No. 3:17-CV-00026-GCM, 2017 WL 3573825,

at *3 (W.D.N.C. Aug. 17, 2017) (“Plaintiffs herein do not identify any written contract and provide

no meaningful substance (or even the date) of any such alleged agreement. Plaintiffs’ conclusory

allegations contain no factual content of any specific promises . . . .”). The same is true here.

       Courts have likewise dismissed breach of contract claims where the plaintiff “fail[s] to

show a meeting of the minds as to the essential terms.” Al-Jamal v. Michael Baker Corp., No.

5:12-CV-746-F, 2013 WL 3356573, at *4 (E.D.N.C. July 3, 2013). See also Guiliani v. Duke

Univ., No. 1:08CV502, 2010 WL 1292321, at *6 (M.D.N.C. Mar. 30, 2010) (“This court finds that

Plaintiff’s claim for breach of contract based on . . . oral statements does not meet the pleading

requirements of Iqbal because the statements do not show a meeting of the minds . . . nor do they

establish definite and certain terms”); Charlotte Motor Speedway, LLC v. Cnty. of Cabarrus, 230

N.C. App. 1, 7, 748 S.E.2d 171, 176 (2013) (the agreement’s “silence on several key terms renders




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it void for indefiniteness and that, for this reason, the trial court correctly granted the County’s

motion to dismiss as to Plaintiffs' claims for breach of contract”).

       Kasparov alleges a contract was formed when Kasparov offered to make Zacherl and

Linehan signatories to the Wallets “as Kasparov’s agents, .i.e., on the condition that Zacherl and

Linehan utilize such signatory authority subject to Kasparov’s control and prior authorization, and

for the benefit of the Rook Project,” and Zacherl accepted the offer. Amend. Compl. ¶¶ 81, 83.

The Amended Complaint is wholly devoid of any allegation that this agreement was ever reduced

to writing, much less that an agreement was formed as a result of oral or written communications

with Zacherl, and if so, the dates of those communications, who was involved (including who

acted or spoke on behalf of Kasparov),5 or what specially was said. The Amended Complaint

fails to identify a single statement by Zacherl agreeing to act as Kasparov’s agent or not to take

any actions without Kasparov’s prior approval. Aside from general allegations that Zacherl agreed

to act as Kasparov’s agent with respect to the Wallets, the Amended Complaint is silent as to the

scope and duration of the agreement and Zacherl’s obligations thereunder. Thus, Kasparov fails

to allege any meeting of the minds as to the essential terms of the alleged agreement. Moreover,

Kasparov’s allegation of a breach is based on acts Zacherl took as a signatory that Kasparov alleges

were outside the bounds of his agreement to act as Kasparov’s agent and were taken without

Kasparov’s prior authority. Id. ¶¶ 85-86. In the absence of any allegation that Zacherl ever agreed

that he would not take any action with respect to the Wallets without Kasparov’s prior approval,

Kasparov cannot allege that actions taken without Kasparov’s approval constitute a breach. Thus,




5
 The Amended Complaint refers to an agreement involving “Kasparov, Zacherl and Linehan,” but
fails to identify which principal acted or spoke on behalf of Kasparov. See Amend. Compl. ¶¶ 81,
83.
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Kasparov fails to allege the formation of a valid contract or a breach of any identifiable and agreed

to obligation.

        If Kasparov’s breach of contract claim is dismissed, its breach of implied covenant of good

faith and fair dealing claim must also be dismissed. “A breach of the implied covenant of good

faith and fair dealing requires the wrongful intent of a party to deprive another party of its

contractual rights . . . . Thus, the existence of a valid contract is a prerequisite to a claim for breach

of the implied covenant of good faith and fair dealing.” Herrera v. Charlotte Sch. of L., LLC, No.

17 CVS 1965, 2018 WL 1902556, at *10 (N.C. Super. Apr. 20, 2018).

C.      KASPAROV’S UNJUST ENRICHMENT CLAIM FAILS.

        “Under North Carolina law, unjust enrichment is an equitable doctrine that allows for the

return of, or payment for, benefits received under circumstances where it would be unfair for the

recipient to retain them without the contributor being repaid or compensated.” Augustson v. Bank

of Am., N.A., 864 F. Supp. 2d 422, 438 (E.D.N.C. 2012) (internal quotations omitted). “[U]nder

North Carolina law, a benefit is unjust when the benefit was conferred under circumstances

which give rise to a legal or equitable obligation on the part of the defendant to account for the

benefits received.” Id. at 438–39 (internal quotations omitted). “In order to establish a claim for

unjust enrichment, a party must have conferred a benefit on the other party, the benefit must be

measurable, and the defendant must have consciously accepted the benefit.” Town of Carolina

Shores v. Cont’l Ins. Co., No. 7:10-CV-13-D, 2010 WL 4338437, at *4 (E.D.N.C. Oct. 26, 2010)

(internal quotations omitted).

        Kasparov’s unjust enrichment claim is defective as plead for three reasons. First, Kasparov

utterly fails to allege a critical element of unjust enrichment—that a benefit was conferred “under

circumstances which give rise to a legal or equitable obligation on the part of the defendant to


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account for the benefits received.” Town of Carolina Shores, 2010 WL 4338437, at *4 (internal

quotations omitted). Kasparov alleges that “[t]hrough the unapproved changes Zacherl and his co-

conspirators implemented to the signatories associated with the Team Tokens Wallet and the

Second Company Wallet, a measurable benefit has been conferred on Zacherl: namely, possession

and control of the digital assets in the Wallets.” Amend. Compl. ¶ 97. Further, Kasparov alleges

that Zacherl’s status as a signatory gives him the “power to transfer, spend, or further restrict these

significant assets, as well as to prevent Kasparov [from] utilizing its voting rights.” Id. Kasparov

alleges that “it would be inequitable to permit Zacherl” to maintain the alleged benefits (Compl. ¶

100), but does not allege (i) that Zacherl is obligated to repay or compensate Kasparov as a result

of obtaining the alleged benefit, (ii) any circumstances giving rise to such an obligation, or (iii)

what amount of compensation is owed. There is no allegation that Kasparov expected or demanded

payment of any kind in exchange for any “benefit” Kasparov allegedly provided to Zacherl.

Moreover, Kasparov does not allege that it conferred the benefit of control over the Wallets on

Zacherl, but rather that Zacherl seized and maintained control over Kasparov’s objection (and, in

doing so, breached his oral agreement with Kasparov and engaged in fraud). See id. ¶¶ 99, 81-88,

102-108.

       Second, the unjust enrichment claim is defective because Kasparov fails to allege a

measurable benefit. Kasparov alleges that the “possession and control of the digital assets in the

Wallets,” and the “power” to take certain actions with respect to the assets, constitute a

“measurable benefit.” Compl. ¶ 97. This assertion is entirely conclusory, and the alleged benefit

– “possession and control” and “power” over assets, but not “ownership” of the Wallets or assets,

which “are owned by Kasparov” (see id. ¶ 98) – is akin to the “nebulous” benefits courts have

found insufficient. See Campbell Sales Grp., Inc. v. Niroflex by Jiufeng Furniture, LLC, No. 19


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CVS 865, 2022 WL 17413381, at *10 (N.C. Super. Dec. 5, 2022). Moreover, Kasparov does not

allege Zacherl used his “possession and control” or “power” over the digital assets to transfer them

to himself or others or to otherwise enrich himself in any way, and thus it is entirely vague how

the alleged “possession and control” or “power” constitutes a measurable benefit.

       Third, to the extent Kasparov’s breach of contract claim is not dismissed, the unjust

enrichment claim must be dismissed as duplicative. See Great Am. Emu Co., LLC v. E.J.

McKernan Co., 509 F. Supp. 3d 528, 538 (E.D.N.C. 2020).

D.     KASPAROV’S ACTUAL AND CONSTRUCTIVE FRAUD CLAIMS FAIL.

       Kasparov’s fraud claims fall far short of satisfying the heightened pleading standard under

Fed. R. Civ. P. 9(b).       “Under North Carolina law, the elements of fraud are (1) [f]alse

representation or concealment of a material fact, (2) reasonably calculated to deceive, (3) made

with intent to deceive, (4) which does in fact deceive, and (5) resulting in damage to the injured

party.” Freeman v. HKA Enterprises of S.C., LLC, No. 4:21-CV-77-FL, 2022 WL 3705020, at *9

(E.D.N.C. Aug. 26, 2022) (internal quotations omitted). “To satisfy the specificity requirements

of Rule 9(b), it is pleader’s obligation to plead the time, place, and contents of the false

representations, as well as the identity of the person making the representation and what such

person obtained thereby.” Suntrust Mortg., Inc. v. Busby, 651 F. Supp. 2d 472, 484 (W.D.N.C.

2009). Courts have routinely dismissed fraud claims on the basis that the alleged misrepresentation

was not plead with particularity. See Watkins v. Soprema, Inc., No. 1:12CV318, 2013 WL

1727460, at *4 (W.D.N.C. Mar. 27, 2013) (“[T]he circumstances constituting the fraud are not

pled with the required specificity as the Complaint fails to even allege to whom this statement was

made and when it was made.”); Dellinger v. Pfizer Inc., No. 5:03CV95-V, 2004 WL 6234780, at




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*4 (W.D.N.C. July 7, 2004) (“Plaintiff has not alleged the ‘who, what, where, why and when’ that

pertain to his specific claim.”).

        The fraud claim fails because it widely misses the mark of satisfying Rule 9(b) because it

fails to allege any misrepresentation, let alone with particularity. Kasparov’s actual fraud claim is

based solely on alleged misrepresentations by Zacherl in an April 20, 2022 message to the two

principals of Kasparov. The message is quoted in the Amended Complaint as follows: “[n]eed a

few signatures today please. Payments from strategic reserve → to 4 keepers from pilot program

integration bounties[,]” and “[i]f you guys can help knock out the first one we can polish off the

rest.” Kasparov alleges that one of its principals responded “done.” Amend. Compl. ¶ 102. A

screenshot of the referenced message exchange is included below:




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The Amended Complaint states that “[t]hrough this communication, Zacherl offered to conduct

three of the four transactions on behalf of Kasparov if Zacherl’s co-conspirator Detz was added as

a signatory to the Team Tokens Wallet by Kasparov.” Id. But Kasparov does not allege that

Zacherl failed to “conduct three of the four transactions on behalf of Kasparov.” Rather, Kasparov

alleges that in reliance on Zacherl’s message, it “added Detz as a signatory to the Teams Tokens

Wallet so that Zacherl, Detz, and Linehan could conduct transactions on behalf of Kasparov and

subject to Kasparov’s control.” Id. However, the quoted message from Zacherl contains nothing

of the sort. And, there is nothing misleading about the message. It clearly does not state that if

Kasparov makes Detz a signatory, Zacherl, Linehan and Detz will only use their authority to

conduct transactions on behalf of and with prior approval from Kasparov. There is no allegation

Zacherl ever made such a representation, and the quoted message certainly does not contain any

such statement.

       In the absence of any allegation that Zacherl ever made the statement that Kasparov claims

as the basis for its fraud claim, Kasparov also fails to adequately allege any of the other elements

of fraud, which are dependent on there being allegations of a specific misrepresentation. Kasparov

alleges that “Zacherl’s statements were reasonably calculated to deceive Kasparov” based on the

“relationship of trust and confidence between Kasparov and Zacherl.” Amend. Compl. ¶ 104.

However, there is no allegation that any statement in Zacherl’s message was deceptive, and thus

Kasparov cannot allege that Zacherl’s message was reasonably calculated to deceive Kasparov.

       Courts have also routinely dismissed fraud claims for failure to adequately plead intent to

defraud. See Norman v. Tradewinds Airlines, Inc., 286 F. Supp. 2d 575, 594 (M.D.N.C. 2003)

(“[M]ere generalities and conclusory allegations of fraud will not suffice to sustain a fraud claim”

and “[t]hus, where a plaintiff does nothing more than assert that [a promissor] never intended to


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honor its obligations under [an] agreement, dismissal as a matter of law is appropriate.”) (internal

quotations omitted). While allegations of intent to defraud may be plead on information and belief,

the complaint must nevertheless “adduce specific facts supporting a strong inference of fraud.” In

re Cree, Inc. Sec. Litig., No. 1:03CV00549, 2005 WL 1847004, at *3 (M.D.N.C. Aug. 2, 2005)

(internal quotations omitted). See also Sasser v. Safe Home Sec., Inc., No. 1:18CV746, 2019 WL

3858607, at *3 (M.D.N.C. Aug. 16, 2019) (“[a]ssertions ‘upon information and belief’ that

services were never provided or intended to be provided, along with a general assertion of intent to

deceive, do not alone or in combination create a reasonable inference of intentional

misrepresentation”); Packrite, LLC v. Graphic Packaging Int'l, Inc., No. 1:17CV1019, 2018 WL

4112827, at *5 (M.D.N.C. Aug. 29, 2018) (“Beyond these conclusory allegations” of fraudulent

intent alleged on information and belief, “Packrite fails to allege any additional facts demonstrating

that at the time the statements were made, Graphic had no intention of honoring its promise”).

Apart from the conclusory allegations on information and belief that Zacherl “never intended to

solely execute these three transactions on Kasparov’s behalf” and instead “intended to

misappropriate the digital assets,” and that he “made these statements knowing them to be false

with the intent to deceive Kasparov,” Kasparov does not make a single specific allegation

supporting an inference of fraud. See Amend. Compl. ¶¶ 103, 105.

       Kasparov also fails to allege reasonable reliance on Zacherl’s message, apart from the

conclusory assertion that “[r]easonably relying on Zacherl’s false representations, Kasparov gave

Detz signatory authority.” Id. ¶ 106. “A party cannot establish justified reliance on an alleged

misrepresentation if the party fails to make reasonable inquiry regarding the alleged statement.”

Freeman, 2022 WL 3705020, at *9. As set forth above, Zacherl’s message does not contain any

promise that he would serve as Kasparov’s agent. And there is no allegation that Kasparov ever


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sought to clarify what Zacherl’s message meant, to the extent there was any ambiguity. Nor is

there any allegation explaining why it was reasonable for Kasparov to assume that Zacherl would

act as its agent in exchange for Detz being made a signatory given that there is no allegation

Zacherl ever made any such representation.

       Kasparov also fails to adequately allege the final element of fraud—that the alleged

misrepresentation caused damages. In order to state a claim for fraud, Kasparov must establish

proximate causation. See Jay Grp., Ltd. v. Glasgow, 139 N.C. App. 595, 601, 534 S.E.2d 233, 237

(2000). Proximate causation “requires proof first of causation-in-fact: that ‘but for’ the act or

omission charged, the injury claimed would not have occurred.” Red Cardinal Fifteen, Inc. v.

Lange, 106 F.3d 391, at *4 (4th Cir. 1997). Kasparov makes the conclusory assertion that its

damages were “a direct and proximate result of Zacherl’s false representations.” Compl. ¶ 108.

This type of conclusory assertion of causation is deficient as a matter of law. Moreover, Kasparov

acknowledges that there were intervening events between the alleged misrepresentation and the

alleged injury, including in particular Kullander’s passing, which Kasparov acknowledges

occurred after Zacherl’s April 20, 2022 message and resulted in the dilution of Kasparov’s control

over the Team Tokens Wallet.6           Thus, Kasparov’s allegation that Zacherl’s alleged

misrepresentation was the proximate cause of its loss of control over the Team Tokens Wallet,

which is the only injury Kasparov claims in connection with its fraud claim, is belied by other

allegations acknowledging that other causes contributed to that injury. See Arnesen v. Rivers Edge



6
  Kasparov alleges Zacherl sent his April 20, 2022 message to “the two principals of Kasparov,
Tiantian Kullander and Taiyang Zhang,” indicating the message was sent before Kullander’s
passing. Amend. Compl. ¶ 14. Kasparov alleges that as a result of “Kullander’s recent passing,
only one of the original [Kasparov-affiliated] signatories—Taiyang Zhang—is still a signatory,”
suggesting that Kasparov’s control over the Team Tokens Wallet was diluted as a result of
Kullander’s passing. Id. ¶ 56.
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Golf Club & Plantation, Inc., 368 N.C. 440, 441, 781 S.E.2d 1, 3 (2015) (“[B]ecause plaintiffs fail

to sufficiently allege . . . that plaintiffs’ injuries were proximately caused by either the bank or the

appraisers, dismissal is proper”); Thompson v. Bank of Am., No. 7:09-CV-89-H, 2011 WL

13151658, at *10 (E.D.N.C. Feb. 24) (“Plaintiffs’ have not properly alleged reliance

or proximate cause”).

        In the event the breach of contract claim is not dismissed, the actual fraud claim must be

dismissed for the additional reason that it is duplicative of the breach of contract claim. See

Norman, 286 F. Supp. 2d at 594 (“the mere failure to carry out a promise in contract does not

support a tort action for fraud”). Kasparov’s fraud and breach of contract claims are based on the

same premise that Kasparov agreed to grant signatory authorities in exchange for Zacherl’s alleged

promise that he would act as Kasparov’s agent, and are therefore duplicative.

        Kasparov’s constructive fraud claim also fails to satisfy the heightened pleading standard

under Rule 9(b). Lawley v. Liberty Mut. Grp., Inc., No. 5:11-CV-00106-RLV, 2012 WL 4513622,

at *5 (W.D.N.C. Sept. 28, 2012) (“constructive fraud claims must comply with Rule 9(b)”). “To

state a claim for constructive fraud, a party must allege (1) the existence of a fiduciary duty; and

(2) a breach of that duty.” Vinal v. Fed. Nat’l Mortg. Ass’n, No. 7:13-CV-159-D, 2014 WL

11996967, at *4 (E.D.N.C. Feb. 14, 2014) (internal quotations omitted). “[A]s is required by well-

established North Carolina law, detailed factual allegations, rather than mere conclusory

assertions, are necessary to demonstrate the existence of a fiduciary relationship as a matter of

fact.” Azure Dolphin, LLC v. Barton, 371 N.C. 579, 600, 821 S.E.2d 711, 726 (2018) (affirming

dismissal of constructive fraud claim based on failure to adequately allege fiduciary duty). See

also Herrera v. Charlotte Sch. of L., LLC, No. 17 CVS 1965, 2018 WL 1902556, at *12 (N.C.

Super. Apr. 20, 2018) (“Because Plaintiffs have failed to allege a basis to find that the CSL


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Defendants owed Plaintiffs a fiduciary duty, Plaintiffs’ claims for constructive fraud must be

dismissed.”). Kasparov does not allege that Zacherl owes any fiduciary duty to it, nor does the

term “fiduciary duty” appear anywhere in the Amended Complaint. Kasparov also fails to allege

any facts that give rise to fiduciary duties. On the contrary, Kasparov alleges that it agreed to pay

“compensation” to Zacherl for his services, thus suggesting that he was akin to an employee. See

Amend. Compl. ¶ 37.        “North Carolina’s courts have consistently held that an employer-

employee relationship is not a fiduciary one, even where the employee has significant

management authority.” Glob. Textile All., Inc. v. TDI Worldwide, LLC, No. 17 CVS 7304, 2018

WL 4902003, at *4 (N.C. Super. Oct. 9, 2018). The constructive fraud claim should be dismissed.

E.     KASPAROV’S DECEPTIVE TRADE PRACTICES CLAIM FAILS.

       Kasparov’s claim under N.C. Gen. Stat. § 75-1.1 et seq., North Carolina’s Unfair and

Deceptive Trade Practices Act, suffers from insurmountable defects. To state a claim under the

UDTPA, one must allege three elements: “(1) the defendant committed an unfair or deceptive act

or practice (2) that was in or affecting commerce and (3) proximately caused injury.” Stack v.

Abbott Lab’ys, Inc., 979 F.Supp.2d 658, 667 (M.D.N.C. 2013). A plaintiff asserting claims under

the UDTPA “must allege facts that support each element of the claim in terms that are not vague

or conclusory.” Maxwell v. Phillips, No. 1:06CV00510, 2007 WL 2156337, at *7 (M.D.N.C. July

25, 2007). A plaintiff “must first establish that defendants’ conduct was ‘in or affecting commerce’

before the question of unfairness or deception arises.” HAJMM Co. v. House of Raeford Farms,

Inc., 328 N.C. 578, 592, 403 S.E.2d 483, 492 (1991). Failure to allege facts meeting the “affecting

commerce” requirement alone compels dismissal. See id., 328 N.C. at 592-93, 403 S.E.2d at 492-

494 (affirming dismissal for failure to meet “affecting commerce” requirement). Kasparov falls

far short of alleging sufficient facts to satisfy the “affecting commerce” element, and North


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Carolina precedent concerning that element demonstrates that Kasparov’s attempt to assert a claim

under the UDTPA is an attempt to fit a square peg in a round hole.

       The “affecting commerce” requirement strictly circumscribes the type of business activity

covered by the UDTPA. Courts have repeatedly emphasized that the UDTPA “is not intended to

apply to all wrongs in a business setting.” See, e.g., Food Lion, Inc. v. Cap. Cities/ABC, Inc., 194

F.3d 505, 519 (4th Cir. 1999); Exclaim Mktg., LLC v. DirecTV, LLC, 134 F. Supp. 3d 1011, 1021

(E.D.N.C. 2015), aff’d, 674 F. App’x 250 (4th Cir. 2016). Rather, “the North Carolina Supreme

Court explained that the UDTPA was intended to apply to two situations: “(1) interactions between

businesses, and (2) interactions between businesses and consumers.” Stack, 979 F.Supp.2d at 667

(quoting White v. Thompson, 364 N.C. 47, 52, 691 S.E.2d 676, 679 (2010)) (emphasis added).7

“Consequently, ‘any unfair or deceptive conduct contained solely within a single business is not

covered by the Act.’” Id. (quoting White, 364 N.C. 47 at 53, 691 S.E.2d at 680). “For this reason,

North Carolina courts have generally exempted disputes arising from the employer-employee

relationship from the UDTPA because they do not affect commerce.” Id. See also White, 364

N.C. at 53, 691 S.E.2d at 680 (finding that the UDTPA does not extend to a business’s “internal

operations” or to the “internal conduct of individuals within a single market participant, that is,

within a single business” and that “the General Assembly intended the Act’s provisions to apply

to interactions between market participants”). Accordingly, courts routinely dismiss claims under




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  The narrow application of the UDTPA is consistent with the “primary purpose” of the statute,
which is “to provide a private cause of action for consumers.” Durling v. King, 146 N.C.App. 483,
488, 554 S.E.2d 1, 4 (2001); see also Food Lion, 194 F.3d at 520 (“[T]he fundamental purpose of
the UTPA is to protect the consumer, and courts invariably look to that purpose in deciding
whether the Act applies.”).

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the UDTPA that are intra-business disputes between an employer and employee, or among partners

within a single business.8

       This dispute is between a corporate entity (Kasparov), which was formed to administer the

Rook Project, and an individual who is compensated by that entity for his services in relation to

the Rook Project pursuant to a Services Agreement (Zacherl). Amend. Compl. ¶¶ 36-37. Kasparov

also alleges misconduct by Linehan and Detz, who likewise are paid salaries by Kasparov for their

services in relation to the Rook Project. Id. ¶ 9. This is precisely the kind of intra-business dispute

that cannot form the basis for a claim under UDTPA. Kasparov’s assertion that the allegations in

the Amended Complaint “concern a dispute between two different market participants, not an

intra-entity dispute,” id. ¶ 122, is conclusory and, in any event, the fact that Zacherl and Kasparov

are distinct from one another does not mean that the dispute is not an intra-business dispute.

Kasparov cannot argue that the acts taken by Zacherl that form the basis for the Complaint were

not taken in connection with Kasparov’s business, namely, the operation of the Project and

Wallets, particularly in light of Kasparov’s allegation that Zacherl agreed to act as its agent.




8
  See e.g., Wilson v. Blue Ridge Elec. Mbrshp. Corp., 157 N.C. App. 355, 358, 578 S.E.2d 692,
694 (2003) (changing corporate bylaws to affect the composition of the corporation’s management
was an internal business activity that did not affect commerce); White, 364 N.C. at 53-54, 691
S.E.2d at 680 (a dispute among business partners did not affect commerce where, among other
things, the defendant partner had improperly diverted work and financial opportunities away from
plaintiff partners to a group of men with whom he preferred to work); Stuart, 2019 WL 13217414,
at *2 (dismissing UDTPA claim because employee failed to allege facts showing employer’s acts
impacted “other market participants or customers”); Durling, 146 N.C.App. at 488-489, 554
S.E.2d at 4-5 (a dispute between a sales representative and his sub-representatives over the
allocation of commissions did not affect commerce); Maxwell, 2007 WL 2156337, at *7
(dismissing UDTPA claim because dispute over allocation of royalties among former band
members did not affect commerce); Polyquest, Inc. v. Vestar Corp, LLC, No. 7:13-CV-23-F, 2014
WL 496494, at *11-12 (E.D.N.C. Feb. 6, 2014) (dismissing UDTPA claim regarding internal
operations of a joint venture, because the joint venture was a “single market participant,” even if
technically comprised of separate entities).
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        Kasparov devotes merely one sentence in attempt to articulate how Zacherl’s actions

supposedly affect commerce: “Zacherl’s actions affected commerce by preventing Kasparov’s

access to its property, which is used, inter alia, in its regular course of business as part of the Rook

Project.” Id. ¶ 124. However, the Complaint does not explain how Kasparov’s access to the

Wallets and assets it alleges it owns affects commerce. Kasparov does not allege that its

diminished access to or control over the Wallets affected any person or entity apart from Kasparov

itself. The lone sentence Kasparov includes in attempt to satisfy this critical element of the

UDTPA is vague and conclusory, and thus vastly insufficient. See Maxwell, 2007 WL 2156337,

at *7. Because Kasparov has not adequately alleged that Zacherl’s conduct affected commerce, it

fails to state a claim under the UDTPA.

        Kasparov’s UDTPA claim should also be dismissed because it fails to allege any impact

on North Carolina commerce or consumers. The court’s decision in Verona v. U.S. Bancorp,

No. 7:09–CV–057–BR, 2011 WL 1252935 (E.D.N.C. Mar. 29, 2011) is instructive with respect to

the extraterritorial application of the statute. The court began by noting that a prior court held that

the statute “requires an in-state injury to plaintiff before plaintiff can state a valid unfair trade

claim.” Verona, 2011 WL 1252935, at *12 (quoting The ‘In’ Porters, S.A. v. Hanes Printables,

Inc., 663 F.Supp. 494 (M.D.N.C.1987)). Noting that successful plaintiffs could receive treble

damages and attorneys’ fees under the UDTPA, the court in ‘In’ Porters found it appropriate to

limit the statute’s “reach to cases involving a substantial effect on plaintiff’s operations in North

Carolina.” Id. (citing The ‘In’ Porters, S.A., 663 F.Supp. at 502). The ultimate conclusion of ‘In’

Porters was that “[b]ecause the plaintiff admitted that its business operations were solely in France

and that it had no operations in North Carolina, the court concluded the claim falls outside the

reach of 75–1.1[.]” Id. (internal quotations omitted). The court then highlighted the line of cases


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following ‘In’ Porters “to dismiss UDTPA claims by foreign entities” where the plaintiff failed to

allege an effect on North Carolina commerce. Id. at *13. While the court in Verona recognized

the possibility that a claim could be asserted under the UDTPA by a foreign plaintiff against a

North Carolina business, it only found that to be true where the unfair and deceptive acts “took

place in and emanated from” the business’s headquarters in North Carolina. Id. at *15. Thus, a

foreign plaintiff must allege some nexus to North Carolina commerce, and the mere fact that one

or more defendants resides in North Carolina is not sufficient on its own.9

       The only injury Kasparov has alleged is to itself, and it has alleged that it is incorporated

and has its principal place of business in Singapore. Amend. Compl. ¶ 21. The claims against

Zacherl relate to his activities in connection with the Rook Project, which is administered by

Kasparov. Apart from the allegations that Zacherl performs services related to the Rook Project,

and that he resides in North Carolina, there are no allegations of any other nexus between

Kasparov’s claims and North Carolina. In fact, Kasparov does not allege that any of the actions

Zacherl took that form the basis for its claims took place in North Carolina. At most, Kasparov

has alleged that Zacherl altered the signatories for the Wallets, which Kasparov alleges it

established and has at all times owned, and does not allege are located in North Carolina.




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  See The ‘In’ Porters, 663 F.Supp. at 501-02 (dismissing UDTPA claim because it involved “a
foreign plaintiff suing a resident defendant over alleged foreign injuries having a negligible effect,
if any, on North Carolina trade or commerce.”); Merck & Co. Inc., 941 F. Supp. 1443 (dismissing
UDTPA claim by foreign plaintiffs against North Carolina defendant because plaintiffs did not
experience substantial effects on any North Carolina business operations); US LEC Commc'ns,
Inc. v. Qwest Commc’ns Corp., No. 3:05-CV-00011, 2006 WL 1367383, at *3 (W.D.N.C. May 15,
2006) (rejecting UDTPA counterclaim by foreign defendant against North Carolina-based plaintiff
because defendant “failed to allege that it suffered substantial in-state injury” to business
operations in North Carolina); Dixie Yarns, Inc., 1994 WL 910955 (dismissing UDTPA
counterclaim by foreign defendant against plaintiff whose relevant conduct occurred at its North
Carolina manufacturing plant because defendant did not experience business injury in North
Carolina).
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Moreover, Kasparov alleges that several of the changes to the signatories giving rise to its claims

were taken by “Zacherl, Linehan and Detz” or “Zacherl and Linehan.” See Id. ¶¶ 16-18. Kasparov

alleges Linehan and Detz reside in New Hampshire and Massachusetts. Id. ¶¶ 24-25. There are

no allegations of any injury felt in North Carolina, or any effect whatsoever on North Carolina

commerce. Thus, the extraterritorial application of the UDTPA would be entirely inappropriate

and inconsistent with precedent.

       Kasparov’s UDTPA claim should also be dismissed for failure to adequately allege an

unfair or deceptive trade practice. The UDTPA cause of action does not specifically identify what

unfair or deceptive practices form the basis for this claim, but refers generally to the allegations

that Zacherl made misrepresentations that “fraudulently induce[d] Kasparov’s consent to access

Kasparov’s Wallets.” Id. ¶ 123. As discussed further in relation to the contract and fraud claims,

there is no allegation in the Amended Complaint of a specific communication wherein Zacherl

promised to act as Kasparov’s agent in his capacity as a signatory. See Packrite, LLC v. Graphic

Packaging Int’l, LLC, No. 1:17CV1019, 2020 WL 7060395, at *7 (M.D.N.C. Dec. 2, 2020) (fraud

and UDTPA claims should not be treated with “two different pleading standards” and “[f]or the

same reason that these allegations were not pled with sufficient specificity to satisfy its fraudulent

omission claim, they likewise do not support this claim for unfair and deceptive trade practices”)

(internal quotations omitted). In any event, a private communication between Zacherl and

Kasparov – not alleged to involve or impact the public or North Carolina consumers whatsoever –

cannot support a UDTPA claim.

F.     KASPAROV’S CIVIL CONSPIRACY CLAIM FAILS.

        “It is well established that there is not a separate civil action for civil conspiracy in North

Carolina . . . . Instead, civil conspiracy is premised on the underlying act.” Gottfried v. Covington,


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No. 13 CVS 456, 2014 WL 2921922, at *6 (N.C. Super. June 25, 2014). “North Carolina courts

have     held    that    a     civil conspiracy claim     is      subject     to   dismissal    when

the underlying causes of action, which contain the alleged wrongful acts, are dismissed.” Koch

Measurement Devices, Inc. v. Armke, No. 12 CVS 3478, 2015 WL 2092649, at *10 (N.C. Super.

May 1, 2015) (internal quotations omitted). Because Kasparov fails to state any other claim, the

civil conspiracy claim must be dismissed. See Gottfried, 2014 WL 2921922, at *7 (finding

“Plaintiff’s underlying claim for conversion” based on intangible interests “fails, leaving no

premise for the civil conspiracy claim”). See also Koch Measurement Devices, Inc., 2015 WL

2092649, at *10 (“Plaintiff's claim for civil conspiracy is based entirely on Armke’s alleged breach

of fiduciary duty,” which was dismissed, and thus “[t]he Court concludes that North Carolina law

mandates dismissal of Plaintiff’s claim for civil conspiracy”).

G.     THERE IS NO BASIS FOR DECLARATORY RELIEF.

       Finally, Kasparov tacks on a request for declaratory relief that is entirely duplicative of its

other causes of action and should be dismissed. Declaratory judgments under federal law 10 are

“purely remedial and do[] not create jurisdiction or create substantive rights.”          Sasso, 584

F.Supp.3d. at 71. This means that a “request for declaratory relief is barred to the same extent that

the claim for substantive relief on which it is based would be barred.” CGM, LLC v. BellSouth

Telecommunications, Inc., 664 F.3d 46, 55-56 (4th Cir. 2011).               Courts have thus rejected

declaratory judgment claims where the plaintiff’s other substantive claims have failed. See e.g.,



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  “[F]ederal standards guide the inquiry as to the propriety of declaratory relief in federal courts,
even when the case is under the court’s diversity jurisdiction.” See Sasso v. Tesla, Inc., 584
F.Supp.3d 60, 70 (E.D.N.C. 2022); see also Staffing Advantage LLC v. Definitive Staffing Sols.,
Inc., No. 7:20-CV-00150-M, 2021 WL 2426340, at *9 (E.D.N.C. June 14, 2021) (“[I]n
adjudicating claims for declaratory relief, federal courts apply the federal Declaratory Judgment
Act, 28 U.S.C. § 2201, rather than state analogues like N.C. Gen. Stat. § 1-253.).
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id. (“Here, CGM’s substantive claims fail. Accordingly, so must its Declaratory Judgments Act

claim.”); Robinson v. E. Carolina Univ., 329 F.Supp.3d 156, 186 (E.D.N.C. 2018) (“Because

plaintiff has no underlying federal legal claim . . . the court lacks jurisdiction over plaintiff’s

declaratory judgment claim.”). Likewise, courts have exercised their discretion to dismiss requests

for declaratory judgment that are duplicative of the plaintiff’s other claims. See Willis v. Cleveland

Cnty., N. Carolina, No. 1:18-cv-00292-MR-WCM, 2020 WL 3578297, at *18 (W.D.N.C. July 1,

2020) (“A district court, in its discretion, may decline to entertain a declaratory judgment claim

for good reason” and “Courts have used that discretion to decline to adjudicate declaratory

judgment actions that are duplicative of other claims in the same case” and based on the same

allegations).

       If Kasparov’s other causes of action are dismissed, which they should be for the reasons

set forth above, then its declaratory judgment claim must be dismissed as well. Moreover,

Kasparov’s declaratory judgment claim is based on the exact same allegations that underpin its

other claims. Specifically, Kasparov seeks “a declaration that (1) it has the right to immediately

possess the Team Tokens Wallet, the Second Company Wallet and all of the assets contained

therein, and (2) that Zacherl has no right to possess the Team Tokens Wallet or the Second

Company Wallet or any of the digital assets therein.” Amend. Compl. ¶ 128. Thus, Kasparov’s

request for declaratory relief requires the adjudication of the same legal question at the core of its

other causes of action: whether the alleged changes to the Wallet signatories described in Section

C, supra, were unlawful.       Therefore, the court should exercise its discretion and dismiss




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Kasparov’s request for declaratory judgment for the additional reason that it is duplicative of the

other causes of action.11

H.     PLAINTIFF SHOULD BE DENIED LEAVE TO AMEND.

       Kasparov should not be given another opportunity to amend its deficient Complaint, and

any motion for leave to amend should be denied. Although Kasparov was entitled to amend its

Complaint once as a matter of course pursuant to Fed. R. Civ. P. 15, all of the “new” allegations

and claims Kasparov asserted in its Amended Complaint – including the allegations that it formed

an agreement with Zacherl and that Zacherl engaged in fraud based solely on an April 20, 2022

message – could have been asserted from the outset of this case. Where “the factual allegations in

. . . [the] amended complaint do not appear to be based on anything not known to plaintiff at the

time [plaintiff] initiated this action,” courts have denied motions for leave to amend in the absence

of any explanation for the delay in asserting those allegations. Purcell v. Morse, No. 5:05-CV-

460-BR, 2006 WL 8438673, at *2 (E.D.N.C. June 19, 2006).

                                         CONCLUSION

       For the foregoing reasons, Defendant respectfully requests that the Court grant his Motion

and enter an order dismissing the Complaint and granting him such other and further relief as the

Court deems just and proper.




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   Kasparov acknowledges its claim for declaratory relief is duplicative of its breach of contract
claim in pleading it in the alternative. Sprint Commc'ns Co., L.P. v. FairPoint Commc'ns, Inc.,
No. 3:16-CV-00820-GCM, 2017 WL 2919015, at *6 (W.D.N.C. July 7, 2017) (dismissing
declaratory judgment claim where purpose of such claim “is only to resolve an already-existing
breach of contract claim”).
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This the 3rd day of March, 2023.


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                             CERTIFICATE OF SERVICE

     I hereby certify that on March 3, 2023, the foregoing MEMORANDUM IN SUPPORT
OF MOTION TO DISMISS was served via first class mail as follows:

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